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1                               UNITED STATES DISTRICT COURT

2                                      DISTRICT OF NEVADA

3
     UNITED STATES OF AMERICA,                       )
4                                                    )
                          Plaintiff,                 )        Case No.: 2:15-cr-00353-GMN-NJK
5
           vs.                                       )
6
                                                     )                    ORDER
     CHRISTOPHER BUSBY,                              )
7                                                    )
                          Defendant.                 )
8                                                    )
9           Pending before the Court is the Motion for an Order Deeming the Attorney-Client
10   Privilege Waived, (ECF No. 186), filed by the Government. Defendant Christopher Busby
11   (“Defendant”) did not respond.
12          For the reasons discussed below, the Government’s Motion for an Order Deeming the
13   Attorney-Client Privilege Waived is GRANTED.
14   I.     BACKGROUND
15         The Court incorporates the background information and procedural history of this case
16   from the Government’s Motion. (See Mot. Order Deeming Att’y-Client Privilege Waived 2:4–
17   14, ECF No. 186). The Government now seeks the Court to enter an Order deeming the
18   attorney-client privilege between Defendant and his counsel—Tony L. Abbatangelo, Heidi A.
19   Ojeda, and G. Michael Tanaka—waived to respond to Defendant’s Motion to Vacate, Set
20   Aside, or Correct Sentence under § 2255. (See id. 2:14–17). The Government also moves the
21   Court to provide it a sixty (60) day extension to file its Response to Defendant’s Motion to
22   Vacate. (Id. 2:17–20, 6:3–6).
23   II.    LEGAL STANDARD
24         “[W]here a habeas petitioner raises a claim of ineffective assistance of counsel, he
25   waives the attorney-client privilege as to all communications with his allegedly ineffective


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1    lawyer.” Bittaker v. Woodford, 331 F.3d 715, 716 (9th Cir. 2003). However, “such waiver is

2    narrow and does not extend beyond the adjudication of the ineffectiveness claim in the federal

3    habeas proceeding.” Lambright v. Ryan, 698 F.3d 808, 818 (9th Cir. 2012) (citing Bittaker, 331

4    F.3d at 720–25).

5    III.    DISCUSSION

6           Here, Defendant waived his attorney-client privilege with the aforementioned counsel by

7    raising an ineffective assistance of counsel claim. (See generally Mot. Vacate, Set Aside,

8    Correct Sentence, ECF No. 184). Accordingly, the Court waives the attorney-client privilege

9    between Defendant and Tony L. Abbatangelo, Heidi A. Ojeda, and G. Michael Tanaka only as

10   it relates to his ineffective assistance of counsel claim in his Motion to Vacate.

11   IV.     CONCLUSION

12           IT IS HEREBY ORDERED that the Government’s Motion for an Order Deeming the

13   Attorney-Client Privilege Waived, (ECF No. 186), is GRANTED.

14           IT IS FURTHER ORDERED that the Government shall file a Status Report on August

15   5, 2022, informing the Court of the status of Tony L. Abbatangelo’s, Heidi A. Ojeda’s, and G.

16   Michael Tanaka’s responses regarding Defendant’s ineffective assistance of counsel claim.

17                       23 day of June, 2022.
             DATED this _____

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19                                                 ___________________________________
                                                   Gloria M. Navarro, District Judge
20
                                                   UNITED STATES DISTRICT COURT
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